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15                              UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17                                    OAKLAND DIVISION

18 UNILOC 2017 LLC,                            Case Nos.: 4:20-cv-04355-YGR;
                                               4:20-cv-05330-YGR; 4:20-cv-05333-YGR;
19         Plaintiff,                          4:20-cv-05334-YGR; 4:20-cv-05339-YGR;
                                               4:20-cv-05340-YGR; 4:20-cv-05341-YGR;
20         v.                                  4:20-cv-05342-YGR; 4:20-cv-05343-YGR;
                                               4:20-cv-05344-YGR; 4:20-cv-05345-YGR;
21 GOOGLE LLC,                                 4:20-cv-05346-YGR

22         Defendant.                          DEFENDANT GOOGLE LLC’S
                                               SUPPLEMENTAL BRIEF IN SUPPORT
23                                             OF ITS RENEWED MOTION TO
                                               DISMISS FOR LACK OF STANDING
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 1          Pursuant to the Court’s September 24, 2020 Orders (see, e.g., No. 4:20-cv-05346-YGR,

 2 Dkt. 203), Defendant Google LLC (“Google”), respectfully submits this Supplemental Brief in

 3 Support of Its Motion to Dismiss (Dkt. 205) the Complaints filed by Plaintiff Uniloc 2017 LLC

 4 (“Uniloc 2017”).1 This Supplemental Brief is based on newly produced documents and deposition

 5 transcripts that Uniloc USA, Inc. (“Uniloc USA”) produced to Apple in a group of cases currently

 6 pending in this District before Judge Alsup and Magistrate Judge Ryu, in which Apple has

 7 challenged Uniloc USA’s standing on grounds similar to those here. See Uniloc USA, Inc. v. Apple,

 8 Inc., No. 5:18-cv-00538-WHA (N.D. Cal.).2

 9 I.       INTRODUCTION

10          As detailed in Google’s Renewed Motion to Dismiss For Lack of Standing, Uniloc 2017
11 lacks standing to bring this litigation. (Dkt. 205-1.) First, Uniloc 2017 lacks standing because its

12 predecessor-in-interest, Uniloc Luxembourg, S.A. (“Uniloc Lux”), granted a third party, Fortress

13 Credit Co LLC (“Fortress”), an “irrevocable” license that is “transferrable” and “sub-licensable”

14

15   1
      For consistency, all docket citations in this brief will be to Case No. 4:20-cv-05346-YGR unless
16 otherwise specified. On October 2, 2020, pursuant to the Court’s September 24, 2020 Orders (Dkt.
   204) in the above-captioned cases, Uniloc 2017 and Google jointly refiled Google’s Motion to
17 Dismiss and all related and supporting papers that were pending when these cases were transferred
   to this District. The refiled papers include Google’s Motion to Dismiss, Uniloc 2017’s Response,
18
   Google’s Reply, Uniloc 2017’s Sur-Reply, and all attachments thereto that relate to Uniloc 2017’s
19 standing, which is the sole remaining issue for decision on Google’s Motion. (Dkt. 205.)
     2
        A contextual point bears mention as well: many of the same standing issues raised by Google
20
     in this litigation have also been raised by Apple Inc. and Motorola Mobility, LLC in their
21   respective litigations against Uniloc entities now pending in the Northern District of California
     and the District of Delaware, respectively. See, e.g., Uniloc USA, Inc. v. Apple, Inc., No. C 18-
22   00360 WHA (N.D. Cal.) (Alsup, J.); Uniloc USA, Inc. v. Motorola Mobility, LLC, No. 17-1658
     (CFC) (D. Del.) (Connolly, J.). In the cases before Judge Alsup, standing-related discovery is still
23   in progress following a Federal Circuit decision in which the panel expressed skepticism of the
     Uniloc entities’ standing in light of “material suggesting multiple jurisdictional defects” and
24
     remanded “for the district court to supplement the record, determine whether Uniloc has standing
25   in the first instance, and, if appropriate, cure any jurisdictional defects.” See Uniloc USA, Inc. v.
     Apple Inc., 784 F. App’x 763,764 (Fed. Cir. 2019). In the cases before Judge Connolly, the court
26   recently heard oral argument on Motorola’s motion to dismiss for lack of standing. (See Acharya
     Decl. Ex. E [Tr. of Oct. 1, 2020 Hearing in Uniloc USA, Inc. v. Motorola Mobility, LLC, No. 17-
27   1658 (CFC) (D. Del.) (Connolly, J.)].)
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                                                    DEFENDANT GOOGLE LLC’S SUPPLEMENTAL BRIEF
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 1 at Fortress’s “sole and absolute discretion”—including to Google. See Morrow v. Microsoft Corp.,

 2 499 F.3d 1332, 1338 (Fed. Cir. 2007) (holding that a plaintiff asserting patent infringement lacks

 3 standing if it does not have the right to exclude the defendant from practicing the patents). Uniloc

 4 2017 thus acquired the patents-in-suit subject to Fortress’s irrevocable rights. (Dkt. 205-1 at 1, 3–

 5 5.) Second, Uniloc 2017 lacks standing because it does not hold all substantial rights to the patents-

 6 in-suit. (Id. at 9–11.) Shortly after acquiring the patents-in-suit, Uniloc 2017 granted Uniloc

 7 Licensing LLC (“Uniloc Licensing”) an “exclusive” right to sue for infringement and ceded

 8 control over settlement and assignment decisions to a Fortress-controlled entity, CF Uniloc

 9 Holdings LLC (“CF Uniloc”). (Id.) The newly produced documents provide additional information

10 regarding Uniloc 2017’s lack of standing.

11 II.      NEWLY PRODUCED DOCUMENTS AND TRANSCRIPTS                                          FURTHER
            CONFIRM THAT UNILOC 2017 LACKS STANDING
12
            As detailed in Google’s Motion to Dismiss (Dkt. 205-1) and Reply (Dkt. 205-3), in 2014,
13
     Fortress loaned money to Uniloc Lux and Uniloc USA. On December 30, 2014, Uniloc Lux,
14
     Uniloc USA, and Fortress entered into several agreements, including: (1) a Revenue Sharing and
15
     Note and Warrant Purchase Agreement (“RSA”); and (2) a Patent Licensing Agreement (“Fortress
16
     Licensing Agreement”). (Dkt. 205-1, at 3–4.) The Fortress Licensing Agreement granted Fortress
17
     extensive rights, including an “irrevocable” license, in all of Uniloc Lux’s and Uniloc USA’s
18
     intellectual property “following an Event of Default,” as defined in the RSA. (Id. at 3.) According
19
     to these agreements, once an Event of Default occurred, Fortress could use its “irrevocable” license
20
     to grant sublicenses in its “sole and absolute discretion,” “without restriction,” and “without
21
     consent of [Uniloc Lux or Uniloc USA].” (Id. at 4.) By the time Uniloc 2017 acquired the patents-
22
     in-suit from Uniloc Lux, at least three Events of Default had already occurred, each itself sufficient
23
     to automatically trigger Fortress’s “irrevocable” license. (Id.) Uniloc 2017 contends in its
24
     Response and Sur-Reply that no Events of Default occurred, and even if such Events of Default
25
     occurred, Fortress either waived those defaults or Uniloc Lux and Uniloc USA cured those
26
     defaults, and therefore, Uniloc Lux had all substantial rights in the patents-in-suit when it
27

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 1 transferred those patents to Uniloc 2017. (Dkt. 205-2, at 6–9; Dkt. 205-4, at 4–6.) But as explained

 2 in Google’s Motion and Reply, and reconfirmed in the newly produced documents and deposition

 3 transcripts, Fortress never waived any rights under the RSA, and Uniloc Lux and Uniloc USA

 4 never cured any defaults.

 5          During discovery in these cases as well as in the Uniloc v. Apple cases, none of Uniloc

 6 2017’s, CF Uniloc’s, Uniloc USA’s, or Uniloc Licensing’s witnesses, including their Rule 30(b)(6)

 7 designees, could provide any testimony to establish that (a) the Events of Default did not actually

 8 occur, (b) that any Events of Default were properly cured, or (c) that Fortress formally waived any

 9 Events of Default. (Acharya Decl. Ex. A [James Palmer Tr.] 186:2–190:1, 188:25–190:1–19; Ex.

10 B [Craig Etchegoyen Tr.] 142:6–143:6; Ex. C [Erez Levy Tr.] 89:16–19, 90:2–21.) Furthermore,

11 CF Uniloc’s corporate designee acknowledged that the security agreement it entered into with

12 Uniloc 2017 requires Uniloc 2017 to obtain the “prior written consent” of CF Uniloc before it can

13 “sell, lease, transfer or otherwise dispose of” any of the patents-in-suit. Ex. C [Erez Levy Tr.]

14 64:8–74:11.) He explained that, although he lacked knowledge of the business rationale for this

15 restraint on Uniloc 2017’s alienation rights as it pertained to CF Uniloc specifically, the general

16 business rationale for such restraints is to provide investors in funds such as CF Uniloc with control

17 over the disposition of the underlying patent assets. (Id.)

18          A.       Mr. Palmer’s Deposition Testimony Confirms That Uniloc 2017’s
                     Predecessors-In-Interest Defaulted And That No Cure Or Waiver Occurred
19
            Among the documents newly produced to Google is a transcript of a deposition of James
20
     Palmer, a Fortress employee who authored two declarations (Dkt. 205-1, Ex. R.) that Uniloc 2017
21
     relied on for the argument that no default occurred under the RSA and that, if a default did occur,
22
     it was cured by Uniloc 2017’s predecessors-in-interest or waived by Fortress. Mr. Palmer’s new
23
     deposition testimony is significant because it sheds further light on the positions taken in his
24
     declarations.
25
            Consistent with his declarations, Mr. Palmer opined at his deposition (which was neither
26
     taken nor attended by Google) that Uniloc Lux and Uniloc USA did not default under the RSA
27

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                                                     DEFENDANT GOOGLE LLC’S SUPPLEMENTAL BRIEF
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 1 and that, if it did, any default was cured or waived.3 (Acharya Decl. Ex. A. [James Palmer Tr.])

 2 But Mr. Palmer’s deposition testimony makes clear that his opinions on these legal issues have no

 3 basis in fact. For example, although Mr. Palmer repeatedly testified that he subjectively “never

 4 considered [Uniloc Lux and Uniloc USA] to be in default” or “never thought they were in default”

 5 (Id. 138:23–24, 186:8–9 (emphasis added))—statements simply reflecting his own mental state—

 6 he conceded the facts and occurrences that manifestly constituted Events of Default under the

 7 terms of the RSA. Mr. Palmer admitted that Uniloc Lux and Uniloc USA realized only a little over

 8 $14 million in revenue during the period in which it was contractually required to generate at least

 9 $20 million—a circumstance that, as detailed in Google’s Motion and Reply, constituted an Event

10 of Default, triggering Fortress’s irrevocable right to sublicense:

11          Q        And the total for that time frame of Uniloc’s monetization revenue was a
            little over $14 million; right?
12
            A       That looks correct.
13
     (Id. 118:21–24.) Mr. Palmer also admitted to having no memory of any modification of this
14
     revenue requirement through any course of dealing (which, in any event, the RSA specifically
15
     prohibits):
16
            Q      Did you ever amend by a course of dealing Section 6.2 to be any other
17
            revenue minimum other than $20 million?
18
                    MR. FOSTER: Objection.
19
                    THE WITNESS: I don’t recall.
20
     (Id. 196:7–11.) And as Judge Connolly found and counsel for Uniloc USA admitted in Uniloc
21
     USA, Inc. v. Motorola Mobility, once these events of default occurred, Fortress automatically
22
     received and “irrevocable” license. (See Acharya Decl. Ex. E [Tr. of Oct. 1, 2020 Hearing in Uniloc
23
     USA, Inc. v. Motorola Mobility] at 28:5-8 (“THE COURT: Okay. So that means once there’s an
24
     event of default, they can use the license. Right? MR. FOSTER: Once there’s an event of default,
25

26
   3
       Mr. Palmer also confirmed that he has a financial interest in the outcome of the Uniloc entities’
27 litigations. (Acharya Decl. Ex. A. [James Palmer Tr.] 49:1–50:7.)

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                                                    DEFENDANT GOOGLE LLC’S SUPPLEMENTAL BRIEF
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 1 they can use it.”).) Since these events of default resulted in Fortress obtaining an “irrevocable”

 2 license, the question is whether Uniloc Lux and Uniloc USA did anything to cure this default or

 3 whether Fortress waived the default, which they did not.

 4          When asked whether Uniloc Lux and Uniloc USA ever took any action to cure a default

 5 under the RSA, Mr. Palmer resisted the premise that they were ever in default but cited no evidence

 6 on that point. However, he readily agreed that Uniloc Lux and Uniloc USA never took any action

 7 to cure any default:

 8          Q      Because it’s your understanding there was nothing to cure, Uniloc
            proposed no actions to cure?
 9
            A       Correct.
10
     (Id. 213:22–25.) Mr. Palmer further explained: “if someone forces me to say there is a default, it
11
     was cured in my mind.” (Id. 206:18–20 (emphasis added).) But he identified no facts that could
12
     qualify as a cure under the terms of the RSA. And his subjective opinion that the default was
13
     somehow cured (how, he does not say) ignores the meaning of “cure” as used in the RSA and as
14
     understood in the governing law. See, e.g., Bank of New York Mellon Trust Co., Nat. Ass’n v.
15
     Solstice ABS CBO II, Ltd., 910 F. Supp. 2d 629, 648-49 (S.D.N.Y. 2012) (“Curing a default
16
     commonly means taking care of the triggering event and returning to pre-default conditions.”);
17
     Acharya Decl. Ex. E [Hearing Tr, Uniloc USA, Inc. v. Motorola Mobility, LLC.] 25:22–23 (“THE
18
     COURT: How do you cure a default by not doing anything?”); Mr. Palmer’s opinion that Uniloc
19
     Lux and Uniloc USA effected a cure “in [his] mind” is irrelevant. (Id. at 28:10-18 (“MR. FOSTER:
20
     Again, you’ve got a default doctrine. If the default is cured to Fortress’ reasonable satisfaction . .
21

22

23

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                                                     DEFENDANT GOOGLE LLC’S SUPPLEMENTAL BRIEF
                               IN SUPPORT OF ITS RENEWED MOTION TO DISMISS FOR LACK OF STANDING
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 1 . it is the intent of the parties that they cannot sublicense. THE COURT: I don’t know. I think,

 2 you know, you’ve got that unambiguous contract. I’ve got to give meaning to the word cure.”).)45

 3           Mr. Palmer’s testimony also establishes that Fortress never waived any default. The RSA

 4 specifically requires any waiver to be in writing. (See Dkt. 205-1, Ex. D §§ 7.3(x), 9.4.) But Mr.

 5 Palmer repeatedly testified that Fortress provided Uniloc Lux and Uniloc USA with no written

 6 waiver:

 7           Q       Are you aware of any instance where Fortress waived an event [of]
             default in a revenue sharing agreement between Fortress and --
 8
             A      I don’t recall.
 9
             Q      To the best of your understanding, there was never an instance where
10
             Fortress waived in writing any event of default under the revenue sharing
11           agreement between Fortress and Uniloc; right?

12           A      To the best of my knowledge.

13 (Acharya Decl. Ex. A [James Palmer Tr.] 186:10–19.) This testimony is consistent with the

14 testimony of Uniloc 2017’s and CF Uniloc’s corporate representatives, neither of whom recalled

15 any written waiver either. (See Acharya Decl. Ex. B [Craig Etchegoyen Tr.] 142:22–143:6 (“I

16 don’t know if there was a waiver . . . .”); Ex. C [Erez Levy Tr.] 89:16–19 (“Q. Are you aware of

17 any instance where the majority purchasers waived an event of default in writing? A. I am not

18 aware.”).) The factual predicate for any waiver is thus absent.

19           B.     Drafts Of The RSA Show That The Revenue Requirements Were Important
                    to Fortress
20

21

22
     4
23     To the extent Uniloc 2017 argues that Uniloc Lux and Uniloc USA cured any default to
   Fortress’s “reasonable satisfaction” without having taken action to effect a cure, it confuses cure
24 with waiver. Cure requires action by the breaching party, while waiver does not require any action
   by the breaching party. And waiver under the RSA must be set forth in writing, which Messrs.
25 Etchegoyen, Levy, and Palmer all testified does not exist.
     5
26   Even setting aside the fact that these entities took no action to cure any default, there could have
   been no cure to Fortress’s “reasonable satisfaction” if Fortress failed to perceive that any default
27 occurred, as Mr. Palmer confirmed.

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                                                     DEFENDANT GOOGLE LLC’S SUPPLEMENTAL BRIEF
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 1          In discussing the $20 million revenue requirement in his first declaration, Mr. Palmer

 2 attempted to minimize its importance by stating that “the situation had changed markedly, and

 3 positively, since December 2014, rendering the earlier minimums no longer of significance to

 4 Fortress.” (Dkt. 205-1, Ex. R at 3.) But Mr. Palmer offered no facts to support this conclusory

 5 statement on how “the situation had changed” or why Fortress might have considered the revenue

 6 requirements “no longer of significance” in March 2017. Nor are there any facts to support an

 7 agreement to come off the RSA’s revenue requirements in view of such alleged change in

 8 significance to Fortress. To the contrary, a redline draft of the RSA establishes that the revenue

 9 milestones were specifically bargained for by the parties to the RSA, and therefore, were

10 significant. (Acharya Decl. Ex. D.) This draft, created while the agreement was being negotiated,

11 shows that Fortress struck out language requiring that Uniloc Lux and Uniloc USA merely “seek”

12 to satisfy certain revenue milestones, and replaced it with the stricter requirement that they actually

13 satisfy the milestones, including by generating at least $20 million in revenues during the four-

14 quarter period ending March 31, 2017. (Id.) It was these revenue milestones that Uniloc 2017’s

15 predecessors failed to satisfy, thereby defaulting under the RSA, automatically triggering

16 Fortress’s irrevocable right to sublicense, and destroying Uniloc 2017’s standing to sue on the

17 patents-in-suit.

18          C.        Uniloc 2017 Bears The Burden To Establish Standing
19          “The party bringing the action bears the burden of establishing that it has standing.” Sicom
20 Sys. v. Agilent Techs., 427 F.3d 971, 976 (Fed. Cir. 2005). The Events of Default, and their

21 automatic triggering of Fortress’s irrevocable right to sublicense (without any effective cure or

22 waiver), are not mere technicalities that Uniloc 2017 and Fortress can now simply shrug off. The

23 burden of proving standing is assigned to plaintiffs precisely to ensure that a case proceeds only if

24 all parties with relevant interests are joined. Uniloc 2017 already has caused years of wasteful

25 litigation by proceeding without the proper parties involved, resulting at least in distorted and

26 incomplete discovery and potentially incomplete rulings (due to Fortress’s absence from the case).

27

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 1                                  CERTIFICATE OF SERVICE
 2         I hereby certify that all counsel of record who have consented to electronic service are

 3 being served with a copy of this document via electronic mail on October 9, 2020.

 4                                                         /s/ Deepa Acharya

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 7               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
 8         I certify that the foregoing document is authorized to be filed under seal pursuant to the

 9 Protective Order entered in this case.

10                                                         /s/ Deepa Acharya

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